        Case 3:11-cv-00789-RNC Document 10 Filed 04/25/12 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                         :
Regina McClendon,                        :
                                         :
                   Plaintiff,            : Civil Action No.: 3:11-cv-00789-RNC
      v.                                 :
                                         :
Unified Asset Solutions LLC; and         :
DOES 1-10, inclusive,                    :
                                         :
                   Defendants.           :
                                         :


           NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                 DISMISSAL OF ACTION WITHOUT PREJUDICE
                         PURSUANT TO RULE 41(a)


      Regina McClendon (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws
the complaint and voluntarily dismisses this action, without prejudice, pursuant
to Fed. R. Civ. P. 41(a)(1)(A)(i).


Dated: April 25, 2012

                                         Respectfully submitted,

                                         PLAINTIFF, Regina McClendon

                                         /s/ Sergei Lemberg

                                          Sergei Lemberg, Esq.
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       Case 3:11-cv-00789-RNC Document 10 Filed 04/25/12 Page 2 of 2



                           CERTIFICATE OF SERVICE

      I hereby certify that on April 25, 2012, a true and correct copy of the
foregoing Notice of Withdrawal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                     By_/s/ Sergei Lemberg_________

                                          Sergei Lemberg
